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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


 M.P. MOON, individually and as representative
 of a class of participants and beneficiaries in and
 on behalf of the DuPont Pension and Retirement C.A. No. 1:19-cv-01856-SB
 Plan,


             Plaintiff,
                                                     Class Action
 vs.


 E.I. du Pont de Nemours and Company,


             Defendant.




                                     [PROPOSED] ORDER

       Upon consideration of Plaintiff M.P. Moon’s Motion for Class Certification and the

materials in support thereof, IT IS HEREBY ORDERED that the motion is GRANTED as

follows:

       1.      This action is hereby certified as a class action pursuant to Rules 23(a), 23(b)(1)

and 23(b)(2) against Defendant E.I. du Pont de Nemours and Company (“DuPont”) on behalf of

the following classes (“the Class” or “Classes”):


               Monetary Class
               All participants and beneficiaries of the Plan from 1999 to the
               present, excluding DuPont and any participant who is a fiduciary to
               the Plan who was eligible for unreduced retirement benefits from
               the Plan, prior to attainment of normal retirement age of 65 and
               whose unreduced retirement benefits commenced on a date that was
               later than his or her earliest eligibility for unreduced pension
               benefits (the “Monetary Class”).

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                 Structural Changes Class
                 All participants and beneficiaries of the Plan from 1999 to the
                 present, excluding DuPont and any participant who is a fiduciary to
                 the Plan, who DuPont provides notices concerning benefits
                 available to participants in the Plan. (the “Structural Changes
                 Class”).

       2.        Plaintiff M.P. Moon is hereby appointed as Class Representative; and

       3.        Pursuant to Rule 23(g), deLeeuw Law LLC and McKay Law, LLC are appointed

Class Counsel.



ORDERED this _____ day of __________________



                                              ___________________________________
                                              HONORABLE STEPHANOS BIBAS
                                              United States Circuit Judge




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